74 F.3d 1232NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    James L. MERINAR, Plaintiff--Appellant,v.PARKERSBURG POLICE FORCE;  Parkersburg Welfare Officials;State Farm Insurance Company, Defendants--Appellees.
    No. 95-7361.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996Decided Jan. 24, 1996
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Parkersburg.  Charles H. Haden II, Chief District Judge.  (CA-95-536-6)
      James L. Merinar, Appellant Pro Se.
      Before RUSSELL, HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Merinar v. Parkersburg Police, No. CA-95-536-6 (S.D.W.Va. Aug. 21, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    